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                                                                                                                                       FILED
                                                                                                                                           INCfRCUff
                                                                                                                                                 COURT
                                         IN THE WYOMING cmcUIT COURT                                                                    W-WY
                                  FIFTII JUDICIAL DISTRICT, WASHAKIE COUNTY
                                           PO BOX 927, WORLAND, WY 82401                                                         ----
 ROCKY MOUNTAIN RECOVERY SYSTEMS, INC.,
 A Wyoming Corporation,
                                                                  Plaintiff,



 --~
 -vs-
                                                                                                    DEFAULT JUDGMENT
   REDACTED       REDACTED                                                                          AGAINST ...REDACTED _ REDACTED
                                                               Defendant.

     THIS MATTER having come before the Court upon Plaintiff's application for Default Judgment and
the Court having reviewed the file and being otherwise fully advised on the premise, finds:
1. Plaintiff's complaint was for a sum certain or a sum that can be made certain by computation.
                                                                                  REDACTED    REDACTED
2. A default has been entered in this matter against
                       REDACTED                  REDACTED
3. The Defendant(s), I911111ias                              liable for the following claim(s):

     ORIGINAL                                         !PRINCIPAL         I INTEREST ICOLLECTIONIINTERESTI BREACH I PAYMENTS
     CREDITOR                                         I                  I          I   FEE    I RATE I DATE I RECEIVED
     ----------------------------+----------+----------+--~ +--------+--------1----------
     BIG HORN FAMILY MEDICINE                         I      $305.691            $73.061      ,$1          .991     18%   101-os-221         $0.00
     ----(".CT.~./.:,- -- of;,.-- "+.-.J.---/JOI                        I....,,I - -   -+--     ,,. .. ,   ..J..,:+-.
                                                                                                                 ------+--------+----------
     FEES: The following fees and costs incurred are awardahf:to the plaintiff:


                                                                       $450.75
       Altom      Fee

     NOW THEREFORE, IT IS HEREBY ORDERED, AJUDGED,                                                                AN]
                                                                                                                   .f J~ED             that Judgment
                               REDACTED    REDACTED
is entered against ...                    ~for              CLAIM and FEES in the amount of$"~                                bearing interest at the
rate of 18.00% per year plus future court and attorneys' fees as accrued by Plaintiff an                                            ~'YYI=
                 I ~ day of
     DATED this __                                    A/ ll d...            . 20_g_y
                                                                                   BY THE CIRCUIT C ;,
                                                                                                                                &
                                                                                                                          0
                                                                                                                                    ~r;q~



                               REDACTED    REDACTED         REDACTED




Plaintiff's File No.: 276712



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                             In The Circuit Court of The 5 Judicial District
                                     Washakie County, Wyoming



  Rocky Mountain Recovery Systems, Inc.,            )
                             Plaintiff,             )
                                                    )
   vs.                                              )   Case Number: CV-2024-0000007
                                                    )
    REDACTED   REDACTED
                                                    )
                            Defendant.              )




                   ORDERDENYING MOTION FOR RECONSIDERATION


        The above-captioned matter came before the Court for a hearing upon Plaintiffs
 Motion for Reconsideration on May 23, 2024. Plaintiff was represented by Brett Allred of
 Wilkerson & Wilkerson, LLC.Defendant did not appear.



                                Course of Proceedings
          Plaintiff's Complaint and Summons, dated October 20, 2023, was served on Defendant on
 January 25, 2024. The Summons stated that Defendant was required to file a written answer with the
 Court within 35 days of the Complaint being filed with the Court, and advised her that the Complaint
 would be filed within 14 days of her being served. Plaintiff filed the Summons, the Complaint, and the
 Service Return on February 6, 2024. Defendant did not file an answer or any other responsive
 pleading.

          Default Judgment was entered in favor of Plaintiff, a collection agency, and against
 Defendant, on April 8, 2024. The proposed form of the Judgment submitted by Plaintiff
 identified as sums owed by Defendant to include the principal sum of $305.69, prejudgment
 interest of $73.06, a "collection fee" of $106.99, the court filing fee of $70.00, a service of
 process fee of $50.00, and attorney fees in the amount of $330. 75. Attorney fees were
 determined to be reasonable based upon the information contained in counsel's Verified
 Motion for Attorney Fees.

         The Court entered judgment for all sums requested except for the "collection fee,"
 briefly noting on the face of the order that this was not allowed as the Court considered it to be
 an unlawful penalty. The Court also ordered in the Default Judgment that post-judgment




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 interest would accrue at the contractual rate of 18% per annum, "plus future court and
 attorneys' fees as accrued by Plaintiff and allowed by law."

         It should be noted that Plaintiff's submission of documents in support of its request for
 entry of default and judgment included a copy of a document generated by the original
 creditor, Big Horn Family Practice, wherein Defendant agreed to pay "a collection fee of thirty-
 five percent (35%) [of any] unpaid balance assigned for collection."

          Plaintiff filed its Motion to Reconsider on April 22. 2024, asking the Court to reconsider
 its refusal to include the 35% collection fee as part of its Judgement. Attached as an exhibit to
 the Motion was a copy of an Account Service and Assignment Agreement by and between
 Plaintiff and the original creditor. Paragraph 8 ofthe Agreement states: RMRSI shall advance all
 court costs and attorney fees in case of litigation or post-judgment enforcement ...RMRSIand/or
 RMRSl's attorney shall retain all court costs, service fees, interest accrued following
 assignment, and attorney fees collected." Paragraph 14 of the Agreement sets forth the
 manner in which Plaintiff would be paid by Big Horn Family Services for legal services provided
 to it in collecting sums owed on the account. Accordingly, Plaintiff would be paid a percentage
 of sums collected, based on various contingencies. Counsel demonstrated to the Court that he
 used the smallest percentage of attorney fee allowable under the Agreement, an amount equal
 to 35% of the principal amount assigned for collection, in calculating the "collection fee."

          It is not clear how the attorney fees awarded in the default judgment ($330.75), as
 opposed to the contingent attorney fee to be paid upon collection, would be treated. Would
 Plaintiff be entitled to keep all of that, or only 35% of it?

         Plaintiff argues that the "collection fee" is a valid liquidation damages provision of the
 parties' underlying agreement, and not a penalty. The Court took the matter under advisement.



                             Discussion and Conclusions of Law

    1. After the entry of a default, and before the entry of a default judgment, the Court must
       determine if the allegations establish a defendant's liability as a matter of law, as a
       defendant does not, by failure to answer a complaint, also admit conclusions of law.
       Bixler v. Foster, 596 F.3d 751, 761 (10th Cir., 2010)


    2. Therefore, even without objection or input from the debtor-defendant, this Court is
       obligated to determine, as a matter of law, whether the "collection fee" is simply an
       enforceable liquidated damages provision or is an unenforceable penalty. This is a
       question of law for this Court to decide. Walker v. Graham, 706 P.2d 278, 280-81 (Wyo.
       1985).




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   3. In this case, in addition to judgment for an amount equal to the unpaid balance of the
      debt incurred, Plaintiff sought and obtained judgment for actual hourly attorney and
      paralegal fees reasonably incurred, for pre-judgment interest at the original contractual
         rate, for post-judgment interest to accrue at the original contractual rate, and costs of
         suit. The order also acknowledged Plaintiff's right to request ongoing attorney fees and
         costs, as incurred, upon application and approval by the Court. The Court did not allow
         the "collection fee" to be included as part of the damages.

   4. The "collection fee" provision in the Big Horn Family Practice's contract is quite
         obviously intended to provide a mechanism for it to recover sums traditionally charged
         by collection agencies or attorneys for their services in collecting a debt. In this case, the
         "collection fee" is a percentage of what is collected on the assigned debt {35%). This was
         acknowledged by Plaintiff's counsel.


   5. Plaintiff argues that the "collection fee" term of the contract is reasonable in that it
      would truly make the debtor "whole." It is the amount the service provider/original
      creditor/assignor would pay to Plaintiff as it is collected sums owed by Defendant. The
      Court notes that, in effect, it increases the principal sum owed by 35%.



   6.     The Wyoming Supreme Court discussed the distinction between an enforceable
         liquidated damages provision in a contract and an unenforceable penalty provision in
         Walker v Graham, 706 P.2d 278 (Wyo. 1985):

              It is not important whether the parties themselves have chosen to call a provision one for
        liquidated damagesor have styled it a penalty. [citation] It is virtually the unanimous rule in all
        jurisdictions that whether a provision is one for liquidated damagesor a penalty is a question of
        law for the court. [citations]
             A provision for liquidated damagesis generally defined as follows:
        "' • • • Generally speaking, it may be said that when the damagesarising from the breach of
        the contract which the obligation is given to secure are uncertain in their nature and not readily
        susceptible of proof by the ordinary rules of evidence, and are not so disproportionate to the
        probable damages suffered as to appear unconscionable,and it is reasonably clear from the
        whole agreement that it is the intention of the parties to provide for liquidated damagesand
        not a penalty, such a stipulation will be held to be one for liquidated damages.'" [citations]
              In Ray v. Electrical Products Consolidated, Wyo., 390 P.2d 607, 608 (1964), we adopted that
        said in Restatement, Contracts, § 339, p. 552 (1932):
        " '(1) An agreement, made in advanceof breach, fixing the damagestherefor, is not enforceable
        as a contract and does not affect the damagesrecoverable for the breach, unless
        "'(a) the amount so fixed is a reasonableforecast of just compensation for the harm that is
        caused by the breach, and
        "'(b) the harm that is caused by the breach is one that is incapable or very difficult of accurate
         estimation.',, ...




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            While provisions for liquidated damagesare valid and enforceable, courts avoid the
      enforcement of a provision for liquidated damages if it is actually in the nature of a penalty.
      [citation].
            "If the stipulation in the contract is deemed to be one for a penalty, it is not enforceable,
      and no sum can be recovered or allowed other than that which will compensate for the actual
      loss sustained and proved." 22 Am.Jur.2d Damages§ 232, p. 319 (1965).

      Walker, at 280-281.


   7. In Jessen v Jessen, 810 P.2d 987 {Wyo. 1991), the Wyoming Supreme Court held that the
      "late fee" provision in a post-divorce support modification constituted a penalty, and
      not liquidated damages. In the opinion, the Court again analyzed the differences
      between lawful liquidated damages provisions and unlawful penalties:

                  However, if the liquidated damages bear no reasonable relationship to the
         amount of actual damages sustained by a breach, they will constitute an
         unenforceable penalty. [citations] ...
                  In Marcom Martg. Carp., 686 P.2dat 581 n. 3, this court cites the U.C.C.as
         evidence of the state's public policy on liquidated damages clauses as unenforceable
         penalties:
         Wyoming public policy in this respect is evidenced by§ 34-21-297(a), W.S.1977
         (Uniform Commercial Code):
         "(a) Damagesfor breach by either party may be liquidated in the agreement but only
         at an amount which is reasonable in light of the anticipated or actual harm caused by
         the breach, the difficulties of proof of loss, and the inconvenience or nonfeasibility of
         otherwise obtaining an adequate remedy. A term fixing unreasonable large
         liquidated damages is void as a penalty."
         Jessen,at 990-91.



   8. This analysis is similar to the approach taken by a U.S Bankruptcy Court when it
      determined, under New Mexico law, that a "late fee" equal to 5% of the amount owed
      under a delinquent balloon payment provision in a mortgage contract, was a penalty,
      and not liquidated damages. In re Market Center East Retail Property, Inc., 433 8.R. 335
      {D. N.M., 2010).


   9. That Court quoted extensively from a standard treatise on contract law:

      Under the fundamental principle of freedom of contract, the parties to a contract have a broad
      right to stipulate in their agreement the amount of damages recoverable in the event of a
      breach, and the courts will generally enforce such an agreement, so long as the amount agreed
      upon is not unconscionable, is not determined to be an illegal penalty, and is not otherwise
      violative of public policy.

      It is generally agreed that a liquidated damages provision does not violate public policy when, at
      the time the parties enter into the contract containing the clause, the circumstances are such




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      that the actual damages likely to flow from a subsequent breach would be difficult for the
      parties to estimate or for the nonbreaching party to prove, and the sum agreed upon is
      designed merely to compensate the non breacher for the other party's failure to perform. On the
      other hand, a liquidated damages provision will be held to violate public policy, and hence will
      not be enforced, when it is intended to punish, or has the effect of punishing, a party for
      breaching the contract, or when there is a large disparity between the amount payable under
      the provision and the actual damages likely to be caused by a breach, so that it in effect seeks to
      coerce performance of the underlying agreement by penalizing non-performance and making a
      breach prohibitively and unreasonably costly. In such cases the clause, rather than establishing
      damages that approximate or are proportional to the harm likely to flow from a particular
      breach, actually constitutes a penalty, and, since penal clauses are generally unenforceable,
      provisions having this effect are declared invalid; and this is generally true even where the
      provision is negotiated in good faith, at arms' length and between parties of equal bargaining
      power.

      These rules are designed to allow the parties the greatest freedom of contract while at the same
      time preventing them from overstepping that freedom by including illegitimate penal provisions.
      As the drafters of the Restatement (Second) of Contracts point out, and as the cases make clear,
      "[t]he central objective behind the system of contract remedies is compensatory, not
      punitive. Punishment of a promisor for having broken his promise has no justification on either
      economic or other grounds and a term providing such a penalty is unenforceable on grounds of
      public policy."

      Thus, because the purpose of contract remedies is to provide compensation for the harm
      caused by a breach, and because a liquidated damages clause is designed to substitute a sum
      agreed upon by the parties for any actual damages suffered as a result of a breach, it, too, must
      be calculated to compensate, rather than to punish a breach. As a result, the law of most
      jurisdictions requires that a liquidated damages provision, in order to be enforceable, constitute
      the parties' best "estimate of potential damages in the event of a contractual breach where
      damages are likely to be uncertain and not easily proven." Moreover, since a valid liquidated
      damages clause is intended to substitute the sum agreed upon for any actual damages that may
      be suffered as a result of a breach, one "purpose of a liquidated damages provision is to obviate
      the need for the nonbreaching party to prove actual damages." Thus, where the liquidated
      damages clause represents a reasonable attempt by the parties to agree in advance upon a sum
      that will compensate the nonbreacher for any harm caused by the breach, in lieu of the
      compensatory contract damages to which the non breacher would otherwise be entitled, the
      clause will be upheld. By parity of reasoning, because the goal of contract remedies is
      compensation, not punishment, if the purpose or effect of a provision stipulating damages is to
      punish the nonperformance of a party's obligations under the agreement, or to coerce or secure
      performance of the agreement through the assessment of an unreasonable sum payable upon
      nonperformance, the provision will be not be upheld.

       Market Center East, at 359-360, quoting Richard A. Lord, 24 Williston on Contracts§
      65:1 (4th ed.) (footnotes omitted in text).

   10. The Bankruptcy Court, after further discussion of these general principles, then
       determined that under New Mexico state law that to determine whether the contract




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       provision in question was an enforceable liquidated damages provision or an
       unenforceable penalty, the inquiry is as follows: 1) was the anticipated injury difficult or
       incapable of accurate estimation at the time the contract was made? 2) are the
       stipulated damages extravagant or disproportionate to the injury anticipated from a
       breach at the time the contract was made? and 3) were the agreed upon stipulated
       damages designed to punish, or have the effect of punishing, a party for breaching the
       contract or merely to compensate the non-breacher for the other party's failure to
       perform? Market Center East, at 362-363.

    11. The Bankruptcy Court concluded that in all these respects the provision resembled a
        penalty. It held that the anticipated injury resulting from a breach of the contract was
        not difficult to calculate or incapable of accurate estimation, that the stipulated
        damages were both extravagant and disproportionate to the injury anticipated from a
        failure to pay the balloon payment when due, and that it had the effect of punishing the
        debtor for breaching the contract. Thus, it concluded that the provision was an
        unenforceable penalty. Id., at 363-367.

    12. The Court would also note that the matter of attorney fees is also addressed in the
        Wyoming Collection Agency Board Rules:



       Section 3. Litigation and Fees. No licensee [such as Plaintiff] shall collect or sue, either as an assignee or
       as agent for any creditor, for more than the actual amount due or claimed to be due on any claim or
       claims, plus legal interest and court costs; provided, when suit is brought upon a note or notes providing
       for an attorney fee, such attorney fee may be added if the licensee is represented by a duly licensed
       attorney, in which case the attorney fee shall be paid to such attorney and no part thereof shall be
       retained by the licensee.
       Wyo. Collection Agency Board Rules, ref. no. 031.0001.3.06262000.


       Without deciding whether the agreement between Big Horn Family Practice and
       Defendant can be considered a "note," for purposes of deciding this dispute, the Rule,
       at most, simply states that attorney fees, presumably of the reasonable sort, may be
       collected.


   13. Here, the harm caused by Defendant's breach of the contract is not "incapable or very
       difficult of accurate estimation." It is ascertained by a simple calculation of what portion
       of the professional fee for services was not paid. This is what might be characterized as
       the actual damages in this case.

   14. Additionally, Plaintiff has sought and recovered pre-judgment interest at the agreed-
       upon rate and is entitled to recover ongoing post-judgment interest at the statutory
       rate. Interest, and the expense of court costs and service fees, are easily determined.




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    15. Furthermore, reasonable attorney's fees have already been awarded. Plaintiff may
        request additional attorney fees, and post-judgment fees and costs, incurred in
        collecting the judgment. Attorney fees are generally considered under the lodestar test
        {" {to determine] the reasonableness of the fees requested, our trial courts are to
        follow the federal lodestar test, which requires a determination of "(1) whether the fee
        charged represents the product of reasonable hours times a reasonable rate; and (2)
        whether other factors of discretionary application should be considered to adjust the
        fee either upward or downward." Shepard v Beck, 2007 WY 53, ,i 17, 154 P.3d 982,989
        (Wyo. 2007)).



    16. This was the standard applied when counsel sought an award of attorney fees with the
       entry of default upon consideration of counsel's Verified Motion for Attorney Fees.This
       appears to be fairest and a non-arbitrary way to determine reasonable fees, instead of a
       declaration that it will be based upon a percentage of the principal sum owed. The Court
       concludes that this formula has resulted in a claim for fees that is disproportionate to
       the "injury" identified at the time agreement was signed at the medical office.

    17. The Court cannot conclude that the attorney fees provision was designed to punish
        Defendant. It was intended to motivate Defendant to pay his bill. However, to allow an
        award of "actual" attorney fees, and a fee based upon the contingency of collecting on
        the judgement, would have the effect of punishing Defendant.

    18. This Court concludes that the 35% "collection fee" in this case is an unenforceable
        penalty.




 IT ISTHEREFORE
              ORDEREDTHAT Plaintiff's Motion for Reconsideration is DENIED.


                                   DATEDTHIS 5th day of June




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             REDACTED   REDACTED   REDACTED
                                             Worland, WY 82401




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